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                             UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
                                     Oakland Division
14
                                  No.: 4:20-cv-03919-CW
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     _____________________________________
16                                           )
     IN RE: COLLEGE ATHLETE                  )   AMICUS BRIEF OF ATHLETES.ORG INC.
17   NIL LITIGATION                          )
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 1                               INTERESTS OF AMICI CURIAE
 2            Athletes.org., Inc. (“AO”) is a Non-Profit Corporation organized and existing
 3   under the laws of the State of Alabama with its principal office located in
 4   Birmingham, Alabama. (Ex. 1, Certificate of Formation). AO, also known as “The
 5   Players Association for College Athletes” (www.athletes.org) is a voluntary
 6   membership organization whose membership includes more than 4,000 current and
 7   former college athletes, including some of the named Plaintiffs (Grant House,
 8   Sedona Prince and Nya Harrison). AO exists to educate, organize and represent
 9   college athletes as their chosen players association in an attempt to ensure that
10   their interests are protected as college athletics continues to evolve. (Ex. 1, p. 7).
11   Nearly 4,000 of AO’s Members have organized into chapters all over the United
12   States, which allows AO’s Members to discuss issues relevant to their specific
13   schools/conferences. AO’s Chapters also communicate and collaborate on issues
14   common to all college athletes, and understandably, this case is among them.
15            Some of AO’s Members have already provided comments to this Court about
16   the proposed settlement. (See e.g. Doc. 580). Undoubtedly, the interests of AO’s
17   Members will be impacted by the decisions made regarding whether to approve the
18   proposed settlement in this case. As an organization whose purpose includes
19   advocating for college athletes, AO provides this Brief to provide this Court with the
20   concerns of college athletes that will continue to exist whether the proposed
21   settlement is approved or not.
22            AO’s Board of Directors (https://www.athletes.org/about/) consists of
23   executives from professional sports unions; college sports attorneys; media
24   executives; former professional athletes; athlete talent agency executives; former
25   conference commissioners; former Power Conference athletic directors and former
26   college head coaches. AO has been authorized by its Board of Directors to file this
27   Brief.
28            AO believes that its perspective regarding what the proposed settlement does

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 1   not accomplish, and/or leaves unanswered and other matters that need clarification,
 2   represents the thoughts and sentiments of its membership. While a contention may
 3   be advanced that the “reaction” from the settlement class has been “overwhelmingly
 4   positive” based upon the claims that have been filed and/or the objections that have
 5   not been made, (Doc. 717, p. 8), that observation can only be said to apply to the
 6   reaction from class members who are to receive money from this settlement. The
 7   reaction from class members and/or their family members who are impacted by
 8   provisions of the injunctive relief class settlement and who have voiced their
 9   concerns to the Court cannot be characterized as positive. For those class members,
10   there is no claim to make to demonstrate their satisfaction, and because the
11   settlement has not yet been approved, most of the class members whose interests
12   will be affected at some point have not yet experienced some of the impacts of this
13   settlement.
14         Some of the communications from current and former college athletes,
15   including AO’s Members, the Plaintiffs Grant House, Sedona Prince and Nya
16   Harrison, have amplified the need to effectuate further changes in college athletics,
17   including a process for fair representation of college athletes in the decisions and
18   rule-making process that surround college athletics. The position has been
19   advanced that “[c]ollective bargaining….was not required to achieve this historic
20   settlement” (Doc. 717, p. 25), citing White v. National Football League, 822 F.Supp.
21   1389 (D. Minnesota, 1993). However, the White case was filed and settlement
22   reached only after a jury rendered a verdict in McNeill v. National Football League ,
23   Civ. No. 4-90-476, 1992 WL 315292 (D. Minn.., September 10, 1992) finding that
24   certain Right of First Refusal/Compensation Rules of the NFL had a “substantially
25   harmful effect on competition in the relevant market for the services of professional
26   football players”; and that plaintiffs suffered economic injury as a result of those
27   rules. White, 822 F. Supp. 1389, 1394. The NFLPA, who by the time of the
28   settlement had been designated by the majority of NFL players as its “exclusive

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 1   bargaining representative”, supported the settlement, held meetings with its
 2   members to encourage their support for the settlement, and “paid most of class
 3   counsel’s fees….” Id at p.p. 1401 -1405. So, to suggest that any settlement was
 4   reached in the White case without any involvement of the NFLPA, the collective
 5   bargaining unit for the NFL players, is simply not accurate. Here, no collective
 6   bargaining unit for college athletes participated in negotiations of this proposed
 7   settlement, making any references to White inapposite, some college athletes have
 8   suggested in their comments to this Court that AO would be an acceptable
 9   organization that could provide representation of college athletes. But to date,
10   unlike White, no such organization has been formally recognized and sanctioned to
11   act on behalf of college athletes.
12         AO is not, therefore, a “labor union” for college athletes, as college athletes
13   have not been broadly classified as “employees”. However, AO, in terms of services
14   that it offers is an organization that operates similarly to professional sports unions
15   such as the NFLPA and NBPA and serves as an independent athlete advocacy
16   organization dedicated to representing and amplifying the voices of college athletes.
17   AO provides essential, independent support to its members across a range of areas,
18   including negotiating with universities; the necessity of ensuring that “standard”
19   contracts used with college athletes provide for the protection of their physical and
20   mental health; agent certification; and financial literacy and education. AO’s
21   sentiments expressed herein are provided as advocates for those college athletes
22   who will be affected by this Court’s decision. AO contends that there are key
23   clarifications that should come from this Court if the proposed settlement is
24   approved; that there are issues that are not adequately addressed in the proposed
25   settlement; and that the potential for future litigation surrounding college athletics
26   is certain, so as to form the need, AO contends, for college athletes to be adequately
27   represented if they and college athletics are to secure the desired long-term stability
28   that the Parties here apparently seek.

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 1         No counsel for any of the Parties in this litigation authored this Brief, in
 2   whole or in part, or contributed money that was intended to fund preparing or
 3   submitting this Brief. No other persons, other than AO, contributed money that
 4   was intended to fund preparing or submitting this Brief.
 5                             SUMMARY OF THE ARGUMENT
 6         AO supports the proposed settlement as an initial step, but only that. The
 7   proposed settlement is not a replacement for collective bargaining. The proposed
 8   settlement does not adequately address vital health and safety standards for college
 9   athletes. The proposed settlement does not grant the Defendants’ protections under
10   the applicable non-statutory labor exemptions that have shielded professional
11   sports leagues from certain anti-trust claims. All of the disputes between the
12   NCAA, its Members and college athletes are not resolved in this settlement.
13   Various state legislatures have introduced legislation that directly challenge
14   elements of the proposed settlement, and others have existing laws that appear to
15   prohibit certain elements of this proposed settlement from being implemented. This
16   legal ambiguity makes future legal disputes certain, and college athletes have no
17   structural protections that are provided in this settlement to ensure that their
18   interests are represented, and the law does not otherwise appear to provide those
19   protections.
20   ARGUMENT
21   I.    THE “CLASSIC ROLE” OF AMICUS CURIAE
22         It is within the Court’s discretion whether to allow amici to file a brief, and
23   courts generally exercise “great liberality” in permitting amicus briefs. California
24   by and through Becerra v. United State Dep’t of the Interior, 381 F.Supp.3d 1153,
25   11654 (N.D. Cal., 2019); Cody v. Ring LLC, 718 F. Supp. 3d 993, 1004 (N.D. Cal.
26   2024). The “classic role” of amicus curiae is to assist a court in a case of public
27   interest by “supplementing the efforts of counsel.” Id. (citations omitted). “The
28   salient question is whether such brief is helpful to the Court.” Becerra, 381

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 1   F.Supp.3d at 1164.
 2           This case is undoubtedly one of “public interest.” In this case, AO’s Brief, it
 3   contends, supplements the efforts of counsel and is helpful to the Court by providing
 4   additional insight and authorities for this Court’s consideration.
 5   II.     AO SUPPORTS THE PROPOSED SETTLEMENT AS AN INITIAL STEP
 6           Having reviewed the provisions of the proposed settlement, the various
 7   objections thereto, and the Motion for Final Settlement Approval and Omnibus
 8   Response to Objections (ECF. No. 717), AO supports this proposed settlement as an
 9   initial step in the right direction of addressing long-standing injustices that have
10   existed within college athletics.; but that does not mean, from AO’s perspective, that
11   the proposed settlement should be approved, and AO fully understands that
12   decision to rest with this Court. The proposed settlement signals a necessary shift
13   from the restrictive, outdated model that has governed college sports for more than
14   150 years.
15           However, while the proposed settlement is a positive step, AO continues to
16   have grave concerns about how this proposed settlement is being publicly and
17   privately characterized by leaders in college athletics that have already acted upon
18   some of the proposed terms, which actions include contract provisions that prevent
19   athletes from objecting to this settlement. If this settlement is approved, AO
20   respectfully requests that the Court clarify several key points so as to ensure that
21   this settlement is not misconstrued as a comprehensive and final solution for college
22   athletics.
23   III.    NEEDED CLARIFICATION
24   A.      The proposed settlement is not a replacement for collective bargaining.
25            It is axiomatic that parties to a collective bargaining agreement are
26   “conclusively presumed to have equal bargaining power….” Emp. Painters’ Tr. V.
27   J&B Finishes, 77 F.3d 1188, 1193 (9th Cir., 1996). However, unlike professional
28   athletes in the NFL and NBA who are represented by unions and have engaged in

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 1   collective bargaining to secure minimum standards and protections on a broad
 2   range of issues, this proposed settlement is not a collective bargaining agreement
 3   and does not provide athletes with a comparable framework. No one need suggest,
 4   therefore, that moving forward college athletes will have “equal bargaining power”
 5   with any of the Defendants.
 6          Professional athletes have collectively bargained for critical protections,
 7   including: (a) health and safety standards; (b) practice time and workload
 8   regulations; (c) an independent grievance process; (d) insurance coverage/workers
 9   compensation; (e) infraction protocols; and (f) game and travel schedules. However,
10   these fundamental aspects of protections provided to professional athletes remain
11   unaddressed in the proposed settlement. The mental health struggles that college
12   athletes are susceptible to are well recognized. See Chow, et. al., “A Program to
13   Reduce Stigma Towards Mental Illness and Promote Mental Health Literacy and
14   Help-Seeking in National Collegiate Athletic Association Division I Student-
15   Athletes”, 15 Journal of Clinical Sports Psychology, pp. 185-205 (2021) (attached,
16   Ex. 2). AO’s Members are no different, as its Members have reported issues such as
17   schools putting their mental and physical wellness at risk and putting the schools’
18   financial interests ahead of the athletes’ wellbeing, all with no significant means for
19   athletes to protect themselves from their institutions. Although the pressures
20   placed upon college athletes in a “revenue sharing” model will undoubtedly
21   increase, the proposed settlement provides no additional protections for these
22   athletes.
23          While AO does not wish to be disrespectful to any of those that negotiated
24   the provisions of the proposed settlement, the reality is that the proposed
25   settlement was not negotiated by representatives duly elected by college athletes
26   and does not take into account the varying needs and demands of different sports.
27   Any comparisons, therefore, between the proposed settlement and a professional
28   sport collective bargaining agreement (confined to a single sport) are misplaced.

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 1   Relatedly, the settlement explicitly asks the court to approve all existing NCAA
 2   rules regarding compensation and benefits that may or may not be provided by
 3   Division I conferences or schools to student-athletes, despite those rules being
 4   crafted without the input from any athlete representatives. Therefore, moving
 5   forward, the proverbial “playing field” for college athletes is still not level.
 6   B.     Health and safety standards are not adequately addressed.
 7          The proposed settlement does not address issues of health and safety for
 8   athletes that are as important as the notion of “revenue sharing”, especially for the
 9   overwhelming number of college athletes that will receive only a nominal amount.
10   Currently, health and safety standards in college athletics are left to the control and
11   enforcement by the NCAA, its conference and member institutions. As it pertains
12   to the NCAA, these standards are found in the NCAA’s Division I, 2024-25 Manual
13   (Ex. 3). While the NCAA espouses as one of its Principles that “[i]ntercollegiate
14   athletic programs shall be conducted….in a manner designed to protect, support
15   and enhance the physical and mental health and safety of student-athletes” (Id,
16   Constitution, Article 1, Section D), there are few mandated standards under which
17   that Principle is to be accomplished. Similarly, conferences, like the SEC (See e.g.
18   Ex. 4 – Southeastern Conference 2024-25 Constitution and Bylaws) do not have as
19   one of their fundamental policies a purpose to provide for the health and safety of
20   college athletes. Id., at 9. The reality is that the Defendants can alter any of their
21   policies at any time without consultation with the athletes which those policies
22   impact. For instance, the NCAA Division I Manual (Section 16.4, Medical
23   Expenses) provides that an “institution shall provide medical care, including
24   payment of out-of-pocket medical expenses, to a student-athlete for an athletically
25   related injury,” but the period of care is limited to “two years following either
26   graduation or separation from the institution, or until the student-athlete qualifies
27   for coverage under the NCAA Catastrophic Injury Insurance Program, whichever
28   occurs first.” However, the NCAA’s Catastrophic Injury Insurance Program has a

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 1   $90,000.00 deductible. (See Ex. 5, “NCAA Catastrophic Injury Insurance Program).
 2   That insurance program provides limited benefits for athletes who are injured and
 3   cannot work due to a total or partial disability.
 4          The NCAA’s health and safety standards simply do not adequately protect
 5   athletes, because those standards were implemented without any discussion and
 6   negotiation with athletes. While NCAA member institutions “agree to establish and
 7   maintain high standards of personal honor, eligibility and fair play” (Ex. 3, Section
 8   20.2.4.13), there appears to be no language contained within the NCAA Manual
 9   that explicitly dictates enforceable health and safety standards, with “termination
10   or suspension” of a member institution being limited to “failing to maintain the
11   academic or athletics standards….” (Ex. 3, Section 20.2.5.1). While NCAA member
12   institutions may be subjected to various penalties for failing to “complete a
13   comprehensive review of its mental and physical health, safety and performance
14   support services” (Id, Section 20.2.4.24), athletes are not provided any rights to
15   enforce obligations imposed upon NCAA member institutions. If the Defendants
16   were interested in providing additional health and safety protections, they most
17   certainly could have done so in this proposed settlement.
18   C.     The proposed settlement does not grant Defendants protection under the
19          non-statutory labor exemption.
20          The non-statutory labor exemption sets forth “a national labor policy favoring
21   free and private collective bargaining,” requiring “good-faith bargaining over wages,
22   hours and working conditions” and “delegate related rulemaking and interpretative
23   authority to the National Labor Relations Board.” Brown v. Pro Football, Inc., 518
24   U.S. 231, 236, 116 S.Ct. 2116, 135 L.Ed.2d 521 (1996). Obviously, those components
25   do not exist in the proposed settlement. The proposed settlement is not the product
26   of collective bargaining and therefore, is not protected under the non-statutory labor
27   exemption that shields professional sports leagues from antitrust claims. The
28   Defendants have “expressly acknowledged that the settlement does not provide

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 1   immunity from future antitrust actions….” (ECF 717, p. 26). AO contends that this
 2   Court should recognize the probability of future antitrust actions especially as it
 3   pertains to: (a) health and safety violations; (b) Third Party NIL (Name, Image and
 4   Likeness) restrictions; and (c) collusive activities impacting institutional athlete
 5   compensation. The President of Mississippi State, also head of the College Football
 6   Playoff executive board, has confirmed: “Even with the new settlement, we are
 7   going to still be peppered with challenges and lawsuits.” 1 So if this Court approves
 8   the proposed settlement, this Court should hold the Defendants to their
 9   representations that no provisions of the settlement insulate the Defendants from
10   future anti-trust liability, including any that may arise from the Defendants’
11   attempts to implement and administer provisions of this settlement.
12          That protection can only be provided to the Defendants if college athletes are
13   collectively represented, and the Defendants formally recognize that representation.
14   The proposed settlement and existing law currently provides no mechanism for such
15   representation and recognition to occur, but that observation simply amplifies the
16   unequal bargaining position that college athletes will continue to find themselves
17   in. That unequal bargaining position is illustrated in the adhesive contracts that
18   Division I conferences and member institutions are already utilizing, even before
19   this settlement is approved.
20   D.     Future litigation is a certainty.
21          As pointed out by some of the objections (see e.g. ECF No. 613), the proposed
22   settlement does not contain provisions regarding how any conflicts that may arise
23   out of the terms of this proposed settlement as applied against actual or proposed
24   legislation in various States will be resolved. While the suggestion is made that
25   this “settlement only resolves antitrust claims” and that “there is nothing in the
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27   1 https://sports.yahoo.com/college-football/article/do-college-football-coaches-think-

28   new-enforcement-arm-will-work-lsus-brian-kelly-it-is-not-a-slap-on-the-wrist-
     200619854.html
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 1   settlement that releases non-compliance with individual state NIL laws” (ECF. No.
 2   717, p. 26), that observation does not adequately address the notion that those
 3   conflicts do in fact exist. Such conflicts only invite future litigation, as this proposed
 4   settlement, involving only questions of Federal law, cannot preempt claims that
 5   may arise under State law. The prospects of Congressional action that would
 6   somehow insulate the Defendants from further legal challenges are remote. The
 7   burden would then be upon the NCAA to pursue litigation against the various
 8   States whose laws conflict with the provisions of this proposed settlement. See e.g.
 9   NCAA v. Miller, 10 F.3d 633 (9th Cir., 1993) (action to enjoin enforcement of Nevada
10   state statutes). This uncertainty leaves athletes in a proverbial “no-man’s land” as
11   States, NCAA Member institutions, and college athletes seek clarity on their legal
12   rights and obligations under evolving compensation models. Accordingly, this Court
13   should make clear that this proposed settlement cannot and therefore, does not,
14   preempt the application of the laws of the various States.
15   E.     Agreements with college athletes are being misused.
16          AO has obtained copies of agreements between college athletes and
17   conferences/universities. (Exs. 6 through 11). Even before this proposed settlement
18   is approved, college athletes are being asked to sign “revenue-sharing contracts”
19   that are contingent upon approval of the proposed settlement in this case. (See e.g.
20   Exhibit 6, Big Ten Memorandum of Understanding, §12; Ex. 8 – SEC Template,
21   §13; Ex. 9 – University of Minnesota template, §12; Ex. 10 – University of Kansas
22   term sheet, “Conditions of Athletics’ Obligations (Conditions Precedent)”; Ex. 11 –
23   University of Arizona term sheet, §2). These contracts of adhesion are
24   “standardized contracts”, drafted by those with superior bargaining strength, that
25   relegates to college athletes only the opportunity to adhere to these contracts, or
26   reject them. Delmore v. Ricoh Americas Corp., 667 F. Supp. 2d 1129, 1136 (N.D.
27   Cal. 2009); Pappas v. AMN Healthcare Servs., No. 24-CV-01426-JST, 2025 WL
28   50440, at *4 (N.D. Cal. Jan. 8, 2025) (“An adhesive contract is a standardized form

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 1   offered by the party with superior bargaining power on a take-it-or-leave-it-basis.”).
 2   These contracts grant the institutions exclusive rights to an athlete’s NIL; releases
 3   institutions from any use of an athlete’s NIL; waive any right of the athlete to
 4   approve how his/her NIL is used; requires that athlete’s “decline” to object to this
 5   proposed settlement; requires advance approval of an athletes’ social media posts
 6   and prohibits any content that “disparages” the institution, the conference or “any
 7   third party”; prohibit the promotion of “political organizations”, including any
 8   “candidate”; and prohibit an athlete from entertaining any inquiry from any other
 9   college. (Ex. 6, ¶1, 2, 12; Ex. 7, “Adjustment”; Ex. 8, ¶1, 2(b), 4(b), 4(c), 7, 9; Ex. 11,
10   ¶10(a),12, 13).
11           Any suggestion that this proposed settlement does not deny athletes certain
12   rights and privileges may be literally true. But the adhesion contracts that are
13   being offered in a “take it or leave it” fashion by the NCAA’s member institutions do
14   and otherwise seek to control virtually every aspect of an athlete’s life. What this
15   Court should clarify if this settlement is approved is that the Defendants simply do
16   not, through this settlement, escape the ongoing scrutiny that these contractual
17   relationships demand.
18                              SUMMARY AND CONCLUSION
19          No one can characterize the proposed settlement as a comprehensive solution
20   to the myriad of issues that college athletes face, and it is imperative that the
21   proposed settlement not be misrepresented as such. The proposed settlement can
22   never serve as a replacement for collective bargaining, nor provide the mechanisms
23   to protect the rights and future interests of college athletes.
24

25          Respectfully submitted this the 27th day of March 2025.
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 3                               CERTIFICATE OF SERVICE

 4         I HEREBY CERTIFY on March 27, 2025, I filed the foregoing with the Court
 5   by uploading to the CM/ECF system for the United States District Court for the
 6
     Northern District of California and that a true and accurate copy was served on all
 7
     Registered parties via Notice of Electronic Filing.
 8

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 1                                  INDEX OF EXHIBITS
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 3   Exhibit 1    Certification of Formation
 4   Exhibit 2    Chow, et. al, “A Program to Reduce Stigma Towards Mental Health
 5                Illness and Promote Mental Health Literacy and Help-Seeking in
 6                National Collegiate Athletic Association Division I Student-Athletes”,
 7                15 Journal of Sports Psychology
 8   Exhibit 3    NCAA Division I 2024-25 Manual
 9   Exhibit 4    SEC Constitution & Bylaws
10   Exhibit 5    NCAA Catastrophic Injury Insurance Program
11   Exhibit 6    Big Ten Memorandum of Understanding
12   Exhibit 7    Big Ten Summary of Principal Terms
13   Exhibit 8    SEC Term Sheet
14   Exhibit 9    University of Minnesota Agreement
15   Exhibit 10   University of Kansas Agreement
16   Exhibit 11   University of Arizona Template
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